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                    UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF MASSACHUSETTS
                            CENTRAL DIVISION

                                                  )
In re:                                            )
                                                  )       Chapter 7
STEVEN C. LLOYD,                                  )       Case No. 16-41044-EDK
                                                  )
                                  Debtor          )
                                                  )
                                                  )
                                                  )       Adversary Proceeding
ANNE J. WHITE, Chapter 7 trustee,                 )       No. 18-4027-EDK
                                                  )
                                  Plaintiff       )
                                                  )
v.                                                )
                                                  )
MICHAEL T. GAFFNEY.,                              )
                                                  )
                                  Defendant       )
                                                  )

                                  MEMORANDUM OF DECISION

                                                                                                 ff in this

adversary proceeding and trustee in the underlying Chapter 7 bankruptcy case filed by Steven C.



should not be dismissed for lack of jurisdiction. If the claims brought by the Trustee against



estate pursuant to 11 U.S.C. § 541(a)(1),1 the Trustee has standing to prosecute them and the matter

is properly before this Court. If the claims do not fall within the bankruptcy estate, however, the

Trustee does not have standing to pursue them and the adversary proceeding must be dismissed.


1
    Unless otherwise stated, all statutory references are to the provisions of the United States Bankruptcy
                                                  See 11 U.S.C. §§ 101 et seq.


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I.       FACTS AND POSITIONS OF THE PARTIES

         In 2015, the Debtor sought             s professional assistance after a judgment creditor had

                                                         Seeking to protect a lot of undeveloped land in

Maine, the Debtor and his wife (allegedly acting                             transferred their interest in

that prope                                                                            -in-law were the

beneficiaries. Shortly thereafter, in June 2016, and with the assistance of a different attorney, the

Debtor commenced the underlying bankruptcy case by filing a voluntary petition under Chapter 7

of the Bankruptcy Code. Not surprisingly, the Trustee commenced an adversary proceeding

against the trust to recover the property as a fraudulent transfer pursuant to § 548 of the Code.

That action was eventually resolved through settlement.

         The Trustee then commenced the present adversary proceeding against Gaffney. In the

complaint, the Trustee raises several claims, each premised on the                       allegation that

Gaffney committed malpractice when he advised the Debtor to transfer the Maine property
                                       2
                                           Following an unsuccessful attempt to have the District Court

withdraw its reference of the case to this Court, Gaffney filed an answer and the Court set the

matter for a pretrial hearing. At the conclusion of that hearing, the Court issued an order requiring

the Trustee to show cause as to why the adversary proceeding should not be dismissed for lack of

jurisdiction, as it appeared from the allegations in the complaint that the alleged malpractice claims

(to the extent they are viable) arose postpetition. Both parties were given an opportunity to brief

the relevant issues. Following a non-evidentiary hearing, the Court took the matter under

advisement.



2
  Specifically, the counts in the complaint are: Count I: Breach of Contract; Count II: Malpractice; Count
III: Breach of Fiduciary Duty; Count IV: Unjust Enrichment; Count V: Breach of the Implied Covenant of
Good Faith and Fair Dealing; Count VI: Accounting; and Count VII: Violation of M.G.L. Chapter 93A.


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       The Trustee maintains that the malpractice claims are property of the bankruptcy estate

both because they had accrued under state law at the time the bankruptcy case was filed and

because the claims are                                -bankruptcy past and so little entangled with

                    ity to make an unencumbered fresh start that [they] should be regarded as

                            Segal v. Rochelle, 382 U.S. 375, 380 (1966). According to the Trustee,

the transfer of the Maine property harmed the Debtor by exposing him                 from creditors

that he had engaged in fraud and had violated the Uniform Fraudulent Transfer Act, G.L. ch.

         Further, the Trustee argues, the Debtor was aware of that harm prepetition as evidenced

by a statement signed by the Debtor after retaining bankruptcy counsel in which the Debtor

indicated that he understood



       Gaffney argues that the claims are not property of the bankruptcy estate because the claims

(if any) arose postpetition. Discounting the impact of the signed statement acknowledging the

likelihood that the Trustee would view the transfer as fraudulent, Gaffney notes instead that the

Debtor did not list a potential malpractice claim or any other claims against Gaffney in his

bankruptcy schedules, nor did the Debtor testify to the possible existence of the malpractice claims

at the meeting of creditors. Gaffney further contends that the Debtor was not harmed the Debtor

could not have claimed an exemption in the Maine property even if he had not transferred it, and

he received a discharge without challenge under 11 U.S.C. § 727(a)(1) (allowing for the denial of

                                  based on a prepetition transfer made with the intent to hinder,

delay, or defraud creditors).




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II.      DISCUSSION

         [S

                             In re Eldorado Canyon Prop., LLC, 505 B.R. 598, 600 (B.A.P. 1st

Cir. 2014) (quoting N.H. Right to Life Political Action Comm. v. Gardner, 99 F.3d 8, 12 (1st Cir.

1996))                                                                         anding in order to

                        jurisdiction,                   nergy, LLC v. Rhode Island Res. Mgmt.

Counsel, 589 F.3d 458, 467 (1st Cir. 2009). The filing of a bankruptcy petition creates an estate

that consists of                                                            of the commencement

of the case, 11 U.S.C. § 541(a)(1), which the Trustee is charged to liquidate, 11 U.S.C.

§ 704(a)(1).

                          Casey v. Grasso (In re Riccitelli), 320 B.R. 483, 488 (Bankr. D. Mass.

2005), the Trustee has standing only to prosecute claims that are properly characterized as estate

property. Ostrander v. Van Dam (In re Mateer), 559 B.R. 1, 5 (Bankr. D. Mass. 2016).

         Section 541(a) defines what interests of the debtor are transferred to the estate but does

not address the existence and scope of the debtor's interest in a given asset. In re Brown, No. 18-

81242, 2019 WL 2070730, *2 (Bankr. C.D. Ill. May 9, 2019) (citing Dumas v. Mantle, 153 F.3d

1082, 1084 (9th Cir. 1998)). In determining whether a particular cause of action is property of the

                     have looked to whether, as of the petition date, a cause of action had accrued

un                            In re de Hertogh, 412 B.R. 24, 28 (Bankr. D. Conn. 2009). Other

courts, including several in this district, have held that the accrual of a cause of action is not

determinative. Instead, relying on Segal v. Rochelle, 382 U.S. 375, 380 (1966) (decided under the

former Bankruptcy Act)                                                                     iciently

rooted in the pre-




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that should come into the estate . . . .    Riccitelli, 320 B.R. at 490-91                             s

accrual as of the petition date is relevant to determining the extent of its prepetition roots, but it is

not the only factor and not necessarily a dispositive one); see also Mateer, 559 B.R. at 7 (the

accrual

considered in determining the sufficiency of the prepetition roots of the claim); Tomaiolo v.

Rodolakis (In re Tomaiolo), 2002 WL 226133, *3 (D. Mass. 2002) (ruling that malpractice claims

that had not accrued under state law as of the petition date were nevertheless property of the estate



            However, as the Mateer



                                                                                                   her a

                                                                                           Mateer, 559

B.R. at 6 n.5.

          This Court begins its inquiry where it must begin all statutory inquiries, with the language

of the statute itself.   United States v. Ron Pair Enters., Inc., 489 U.S. 235, 241 (1989). Section

541(a)(1) clearly states that property of the estate consists only of those property interests that are

                                                                       as of the commencement of the

      operates as a temporal cutoff point, meaning that property interests that exist and belong to

a debtor when the petition is filed are included within the bankruptcy estate, whereas property

interests that the debtor acquires after the bankruptcy filing are not part of the estate, subject to

certain exceptions stated in section 541.         Brown, 2019 WL 2070730 at *2 (citing In re

Chernushin, 911 F.3d 1265, 1270 (10th Cir. 2018)).




                                                   5
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the property interest is

             Id. at 3. And it does not define estate property as those property interests that are

                                                Thus, the plain language of § 541(a)(1) does not

incorporate the Segal analysis into the present Bankruptcy Code for purposes of determining

whether a particular asset constitutes property of the bankruptcy estate.

       And, as the Brown court has recently observed

                                                                                  Butner v. U.S., 440

U.S. 48, 99 S.Ct. 914, 59 L.Ed.2d 136 (1979).         Id. at *4. In Butner, also decided under the

Bankruptcy Act, but postdating the Segal decision, the Supreme Court made no reference to the

Segal analysis when it held that, unless a federal property interest is at issue, the nature and extent

                                                                                          Butner, 440

U.S. at 54-55. The Supreme Court has only twice cited to the Segal decision following its issuance,

and has not cited to Segal at all following the enactment of the Bankruptcy Code. In contrast, in

interpreting provisions of the Bankruptcy Code, the Court has continued to cite to Butner in

reiterating that Congress has generally left the determination of property rights in the assets of a

bankrupt's estate to state law. Butner, 440 U.S. at 54. See Stern v. Marshall, 564 U.S. 462, 495

(2011); Travelers Cas. & Sur. Co. of Am. v. Pac. Gas & Elec. Co., 549 U.S. 443, 451 (2007);

Raleigh v. Illinois Dep't of Revenue, 530 U.S. 15, 20 (2000); Nobelman v. Am. Sav. Bank, 508 U.S.

324, 324 (1993); Barnhill v. Johnson, 503 U.S. 393, 398 (1992); Ohio v. Kovacs, 469 U.S. 274,

285-86 (1985).

       Furthermore, while                                                                           of

Segal is followed,                           without any reference to the sufficiently rooted




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Brown, 2019 WL 2070730 at *3.3 Indeed, the legislative history goes on to reveal

                                                                           will include choses in action and

claims by the debtor against others, it is not intended to expand the debtor's rights against others

more than they exist at the commencement of the case.              House Report No. 95-595, 95th Cong.,

1st Sess. 367 (1977); Senate Report No. 95-989, 95th Cong., 2d Sess. 82 (1978) (emphasis

supplied).4

          Given the plain language of § 541(a)(1), the subsequent issuance of and continued reliance

on the Butner analysis, and the relevant legislative history, this Court agrees with the Brown

conclusion that the Segal analysis did not survive the enactment of the Bankruptcy Code and that

          Segal should not be interpreted as setting forth a federal standard to be layered on
          to the property of the estate analysis under section 541, where property interests
          arising under state law are at issue.                   sufficiently rooted tes has
          been superseded by section 541(a
          . . . as of the commencement of the case.

Brown, 2019 WL 2070730 at *5.



3
    The Segal

          a claim for tax refunds which was applied for and received postpetition was property of the
          bankruptcy estate. The refunds were the result of carrying back, to income of prior years,
          losses which were sustained during the calendar year of bankruptcy and prior to the filing.
          Federal tax law permitted the claim to be made only after the calendar year had closed,
          which occurred after the bankruptcy filing. At the time of the filing, it was possible that
          the claim would be increased or decreased by losses incurred or income earned during the
          balance of the calendar year.

Tomaiolo, 205 B.R. at 14.


                                                                   Segal was treated by the Court as a property
interest in existence on the petition date. . . . The amount of the refund was uncertain, but the statutory right
                                                                         Brown, 2019 WL 2070730 at *3.
4
 In fact, the legislative history further indicates that § 541 would have the effect of overruling Lines v.
Frederick, 400 U.S. 18 (1970), one of the two cases in which the Supreme Court relied on the Segal analysis
                                                                                               -595 at 368.


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                                                            when (pre- or post-petition) and to whom

(the estate or the post-petition debtor) a legally cognizable interest in the cause of action arose

                                     de Hertogh, 412 B.R. at 29                            harm occurred

prepetition, then the cause of action accrued                                      interest therein became

property of the estate upon commencement of the bankruptcy case. If, however, the Debtor[ ]

suffered no prepetition harm, [he] had no legally cognizable interest in [the malpractice claims] as

of the Petition Date; any such interest would have arisen only post-petition when the cause of

                   Id. at 30-31.

        Having narrowed the analysis to whether, as of the petition date, the malpractice claims

had accrued under applicable Massachusetts law, the Court easily concludes that they did not. The

Deb                                                                            ;

relevance to the date on which the Debtor became aware of [potential claims]. His awareness of

the claim might be relevant to the statute of limitations but not to t

Riccitelli, 320 B.R. at 492 n.17. The Trustee asserts that the malpractice claims arose prepetition

based on the Debtor

                                                                                              . However,

the Trustee has not indicated any actual prepetition harm to the Debtor that would have resulted in

the accrual of the claims alleged in the complaint.5 Assuming the Debtor was harmed, that harm


5
  Under Massachusetts law, each of the claims raised by the Trustee against Gaffney require some showing
of actual harm, injury, or damages. See Latson v. Plaza Home Mortg., Inc., 708 F.3d 324, 326 (1st Cir.
2013) (breach of implied covenant of good faith and fair dealing requires a showing that the plaintiff
 destroy[ed] or injur[ed]                                                                       Anthony's
Pier Four, Inc. v. HBC Assocs., 411 Mass. 451, 583 N.E.2d 806, 820 (1991); Druker v. Roland Wm. Jutras
Assocs., 370 Mass. 383, 348 N.E.2d 763, 765 (1976)) (emphasis supplied); Rule v. Fort Dodge Animal
Health, Inc., 607 F.3d 250 (1st Cir. 2010) (a successful claim under Chapter 93A requires a showing of
injury); Bulwer v. Mount Auburn Hosp., 473 Mass. 672, 690, 46 N.E.3d 24, 39 (201
claim for breach of contract, a plaintiff must demonstrate that there was an agreement between the parties;
the agreement was supported by consideration; the plaintiff was ready, willing, and able to perform his or


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did not occur until the Trustee filed the adversary against the trust.6 Because none of the claims

raised by the Trustee had accrued prepetition, the claims are not property of the bankruptcy estate

pursuant to 11 U.S.C. § 541(a)(1). Accordingly, the Court rules that the Trustee lacks standing to

prosecute the claims, the Court has no jurisdiction to adjudicate them, and the complaint must

therefore be DISMISSED. A separate order in conformity with this Memorandum will issue

forthwith.




DATED: June 28, 2019                               By the Court,



                                                   Elizabeth D. Katz
                                                   United States Bankruptcy Judge




her part of the contract; the defendant committed a breach of the contract; and the plaintiff suffered harm
as a result                         Glenn v. Aiken, 409 Mass. 699, 708-
damages for legal malpractice must establish that: (1) the attorney had a duty toward the plaintiff; (2) the
attorney breached the duty by failing to exercise the proper degree of care; (3) the breach proximately
                       injuries                         Baker v. Wilmer Cutler Pickering Hale and Dorr
LLP, 81 N.E.3d 782, 789 (Mass. App. Ct. 2017) (to prevail on a breach of fiduciary duty claim, the :

causal connection between breach of the duty and the damages
and VI, for unjust enrichment and an accounting, are necessarily dependent upon the Trustee prevailing on
the other claims, those claims, too, were not in existence on the petition date.
6
    While not deciding the issue, it is difficult for this Court to discern any cognizable harm to the Debtor

not the Debtor.


                                                       9
